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                   Exhibit 1
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                                                     any subsequent translation into any other language, this
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                                                 GUARDIAN TO READ AND ACCEPT THIS AGREEMENT ON
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                                                 TERMS OF THIS AGREEMENT BETWEEN YOU AND
                                                 BUNGIE, INC. (“BUNGIE”). IF YOU DO NOT AGREE TO THE
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                                                 FOR RESIDENTS OUTSIDE NORTH AMERICA: IF YOU (OR,
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                                                          R     AT https://www.bungie.net/7/en/legal/terms
                                                     BEFORE INSTALLING
                                                               T       OR USING THE PROGRAM.

                                                     LIMITED USE LICENSE: Bungie grants you the non-exclusive,
                                                     personal, non-transferable, limited right and license to install
                                                     and use one copy of this Program solely for your non-
                                                     commercial use. All rights not specifically granted are reserved
                                                     by Bungie. The Program is licensed, not sold, for your use.
                                                     Your license confers no title or ownership in this Program or
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                                                     any digital content therein and should not be construed as a
                                                     sale of any rights in this Program. This Agreement shall also
                                                     apply to patches or updates you may obtain for the Program,
                                                     unless that patch or update is accompanied by additional
                                                     terms as provided in the section regarding “Changes to the
                                                     Agreement” below.

                                                     LICENSE CONDITIONS: This license is subject to the
                                                     following limitations ("License Limitations"). Any use of the
                                                     Program in violation of the License Limitations will result in an
                                                     immediate termination of your license, and continued use of
                                                     the Program will be an infringement of Bungie’s copyrights in
                                                     and to the Program. You
                                                                           Y agree that you will not do, or allow,
                                                     any of the following: (1) exploit this Program or any of its parts
                                                     commercially; (2) use this Program on more than one
                                                     computer/console at the same time; (3) copy, reproduce,
                                                     distribute, display or use any part of this Program except as
                                                     expressly authorized by Bungie herein; (4) copy this Program

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                                                     arrangement, or remote access arrangement, including any
                                                     online use except as included in the Program functionality; (6)
                                                     sell, rent, lease, license, distribute, or otherwise transfer this
                                                     Program or any copies thereof; (7) reverse engineer, derive
                                                     source code, modify, decompile, disassemble, or create
                                                     derivative works of this Program, in whole or in part, or of any
                                                     middleware required for use of this Program such as anti-cheat
                                                     software; (8) hack or modify the Program, or create, develop,
                                                     modify, distribute, or use any unauthorized software programs
                                                     to gain advantage in any online or multiplayer game modes;
                                                     (9) receive or provide “boosting services,” to advance progress
                                                     or achieve results that are not solely based on the account
                                                     holder’s gameplay, (10) remove, disable, or circumvent any
                                                     proprietary notices or labels contained on or within the
                                                     Program; (11) export or re-export this Program in violation of
                                                     any applicable laws or regulations of the United States
                                                     government. VIOLATION
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                                                     LIVE AND TIME-LIMITED GAME ELEMENTS: Y
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                                                     Program involves interaction with Bungie’s live game
                                                     environment. The Program and its live game environment
                                                     change over time. Bungie does not guarantee that you will be
                                                     able to participate in all events or earn all in-game
                                                     achievements. Access to some Live Content may require
                                                     additional purchase. Some in-game elements, including
                                                     without limitation, Live Content associated with season passes,
                                                     are made available to players for a limited time. Where season
                                                     pass Live Content is time-limited, Bungie will use reasonable
                                                     efforts
                                                      f      to communicate this to you within the Program or
                                                     otherwise. Bungie may extend the time-limit for Live Content,
                                                     including season passes, at its option with or without advance
                                                     notice. Fees charged for time-limited content are based on
                                                     access to the applicable content during the time period
                                                     indicated at the time of purchase, and apply whether or not you
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                                                    REQUIRED MIDDLEWARE:
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                                                    the Program may require installation and use of required
                                                    middleware (e.g., BattlEye on PC). If your platform requires
                                                    installation of required middleware in order to operate the
                                                    Program, you will be prompted to review and accept the end-
                                                    user license agreement of such required middleware before
                                                    you can operate the Program. By using the Program, you
                                                    agree not to attempt to disable, circumvent, or otherwise evade
                                                    use of any required middleware.

                                                    BATTLEYE
                                                     A          END USE LICENSE AGREEMENT: T        To install
                                                    BattlEye, you must accept the terms of the BattlEye End-User
                                                    License Agreement (BattlEye EULA). The BattlEye EULA as of
                                                    Aug 24, 2021 is reproduced below for your reference. For the
                                                    most current information, please refer to
                                                    https://www.battleye.com/downl...

                                                    The BattlEye End-User License Agreement is made between
                                                    you (the "Licensee") and BattlEye Innovations e.K. (the
                                                    "Licensor"). The terms of this Agreement apply to all current
                                                    and future versions and updates of BattlEye anti-cheat
                                                    software ("BattlEye"). By installing, enabling, or using BattlEye,
                                                    Licensee agrees with all the terms of this Agreement. Licensor
                                                    reserves all rights not specifically granted and transferred to
                                                    Licensee. Licensee understands, acknowledges, and agrees
                                                    with the following: Licensor grants Licensee a non-exclusive
                                                    and non-transferable license to use BattlEye for non-
                                                    commercial purposes only. Licensee therefore does not own
                                                    BattlEye, Licensor remains the owner of BattlEye. Licensor
                                                    provides BattlEye on an "as is" basis without warranty of any
                                                    kind. Licensor neither guarantees the correct, error-free
                                                    functioning of BattlEye nor is Licensor responsible for any
                                                    damage caused by the use of BattlEye. Licensee may not
                                                    decompile, disassemble, reverse-engineer, modify or
                                                    redistribute BattlEye in any way. BattlEye will automatically,
                                                    without notice to Licensee, download and install updates from

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                                                    algorithms to other connected computers and/or to Licensor
                                                    and store such information for the sole purpose of preventing
                                                    and detecting the use of cheat programs. BattlEye only scans
                                                    and/or reports data which absolutely needs to be scanned
                                                    and/or reported to meet this purpose. BattlEye may further
                                                    report and store Licensee's Internet Protocol address, game
                                                    account name and identifier, in-game nickname, and system-
                                                    related and hardware-related information including, but not
                                                    limited to, device identifiers and hardware serial numbers.
                                                    Licensor values Licensee's privacy and does its utmost to
                                                    protect it at all times. BattlEye does not report any personally
                                                    identifiable information or personal data except for any
                                                    information/data specifically mentioned herein. Licensor stores
                                                    all information collected by BattlEye on servers located in
                                                    Europe and/or the US. Licensor may share the information with
                                                    its partners and/or affiliates.
                                                                         f          Licensee acknowledges that the
                                                    invasive nature of BattlEye is necessary to meet its purpose
                                                    and goal of preventing and detecting cheat programs. Licensor
                                                    is allowed to terminate the license at any time for any reason
                                                    and without notice to Licensee. This License Agreement
                                                    constitutes the entire agreement between Licensor and
                                                    Licensee and supersedes any prior statements.

                                                    BattlEye Privacy Statement: In order to serve its purpose of
                                                    preventing and detecting the use of cheat software with the
                                                    goal of ensuring a fair game environment, BattlEye may
                                                    process the following information from you: IP address, Game
                                                    identifiers (e.g. in-game name, account ID, etc.), Hardware
                                                    device information and identifiers (e.g. serial numbers),
                                                    Information about the running operating system, Information
                                                    about game-related and operating-system-related files and
                                                    memory, Information about running processes, drivers and
                                                    other executable code, File names included in other
                                                    information listed here, which might also contain your
                                                    operating system user name, BattlEye follows a data
                                                    minimization policy that ensures that data is only being stored
                                                    when necessary, i.e. when BattlEye finds information that may
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                                                     at any time to exercise your rights in relation to this data
                                                     processing. See BattlEye's Privacy Policy,
                                                     https://www.battleye.com/priva..., and Bungie's Privacy Policy,
                                                     https://www.bungie.net/en/view/bungie/privacy, for more
                                                     information.

                                                     OWNERSHIP: All title, ownership rights, and intellectual
                                                     property rights in and to the Program and any copies thereof
                                                     are owned by Bungie. This Program is protected by the
                                                     copyright laws of the United States, international copyright
                                                     treaties, and conventions and other laws. This Program
                                                     contains certain licensed materials, and Bungie’s licensors
                                                     may protect their rights in the event of any violation of this
                                                     Agreement.

                                                     PATCHES AND UPDA
                                                     PA             ATES: Bungie may deploy or provide
                                                     patches, updates, and modifications to the Program that must
                                                     be installed for you to continue to use the Program. Bungie
                                                     may update the Program remotely without notifying you, and
                                                     you hereby grant to Bungie consent to deploy and apply such
                                                     patches, updates, and modifications.

                                                     LIMITED W
                                                             WARRANTY: Bungie warrants to the original
                                                     consumer purchaser of this Program that the physical media
                                                     on which this Program is stored, and any physical accessories,
                                                     (together the “Goods”) will be free from defects in material and
                                                     workmanship for 90 days from the date of purchase. If the
                                                     Goods are found defective within 90 days of original purchase,
                                                     Bungie agrees to replace, free of charge, any such defective
                                                     Goods within such period, upon its receipt of the Program
                                                     (postage paid, with proof of the date of purchase) so long as
                                                     the Goods are still being manufactured by Bungie. If the Goods
                                                     are no longer available, Bungie retains the right to substitute
                                                     similar goods of equal or greater value. This warranty is limited
                                                     to the Goods, as originally provided by Bungie, and is not
                                                     applicable to normal wear and tear. This warranty shall not be
                                                     applicable, and shall be void, if the defect has arisen through

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                                                    For customers in EU and other countries: This warranty is
                                                    provided without prejudice to your statutory rights as a
                                                    consumer which will always prevail. Bungie will only be
                                                    responsible for any loss or damage you suffer
                                                                                                f that is a
                                                    foreseeable result of the breach of this Agreement by Bungie
                                                    or its negligence. Nothing in this Agreement shall limit or
                                                    exclude our liability for death or personal injury resulting from
                                                    negligence, fraudulent misrepresentation; or any other liability
                                                    that cannot be excluded or limited by English law. This section
                                                    shall prevail over all other parts of this Agreement.

                                                    LIMITA
                                                        TATION ON DAMAGES: IN NO EVENT WILL BUNGIE BE
                                                    LIABLE FOR SPECIAL, INCIDENTAL,
                                                                               T    OR CONSEQUENTIAL
                                                    DAMAGES RESULTING
                                                                   L     FROM POSSESSION, USE, OR
                                                    MALFUNCTION OF THE PROGRAM, INCLUDING
                                                    DAMAGES TO PROPERTY,
                                                                       Y LOSS OF GOODWILL,
                                                    COMPUTER FAILURE
                                                             F       OR MALFUNCTION AND, TO THE
                                                    EXTENT PERMITTED BY LAWA , DAMAGES FOR PERSONAL
                                                    INJURIES, EVEN IF BUNGIE HAS BEEN ADVISED OF THE
                                                    POSSIBILITY OF SUCH DAMAGES. BUNGIE’S LIABILITY
                                                    SHALL NOT EXCEED THE ACTUAL PRICE PAID
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                                                    LICENSE TO USE THIS PROGRAM. SOME
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                                                    TERMINATION:
                                                          A      Without prejudice to any other rights of
                                                    Bungie, this Agreement will terminate automatically if you fail
                                                    to comply with its terms and conditions. In such event, you
                                                    must destroy all copies of this Program and all of its
                                                    component parts. You
                                                                     Y may also terminate the Agreement at

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                                                     destroy all copies of the Program and all of its component
                                                     parts. The License Limitations, limitation on damages, limited
                                                     warranty, indemnity, and miscellaneous provisions shall
                                                     survive termination of this Agreement.

                                                     INJUNCTION: Because Bungie would be irreparably damaged
                                                     if the terms of this Agreement were not specifically enforced,
                                                     you agree that Bungie shall be entitled, without bond, other
                                                     security, or proof of damages, to appropriate equitable
                                                     remedies with respect to breaches of this Agreement, in
                                                     addition to such other remedies as Bungie may otherwise have
                                                     under applicable laws.

                                                     INDEMNITY: Y   You agree to indemnify, defend, and hold Bungie,
                                                     its partners, affiliates,
                                                                    f          licensors, contractors, offficers, directors,
                                                     employees, and agents harmless from all damages, losses
                                                     and expenses arising directly or indirectly from your breach of
                                                     this Agreement and/or your acts and omissions in using the
                                                     Program pursuant to the terms of this Agreement.

                                                     CHANGES TO THE AGREEMENT: Except for the sections
                                                     regarding “CLASS ACTION WAIVER” W         below, Bungie reserves
                                                     the right, at its sole discretion, to change, modify, add to,
                                                     supplement or delete any of the terms and conditions of this
                                                     Agreement, at any time and by any means, including, without
                                                     limitation, (1) by posting the modifications to
                                                     https://www.bungie.net/en/view/bungie/sla; and/or (2) by
                                                     requiring you to “click to accept” when Bungie upgrades or
                                                     patches the Program, and your continued use of the Program
                                                     constitutes your acceptance of the modifications. The changes
                                                     to the Agreement will be effective
                                                                                f       upon prior notice as follows:
                                                     Bungie will post the revised version of this Agreement on its
                                                     website, may include the terms with a patch or update and
                                                     require acceptance as part of the installation process, or may
                                                     provide such other notice as Bungie may elect at its sole
                                                     discretion. If any future changes to this Agreement are
                                                     unacceptable to you or cause you to no longer be in

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                                                    continued use of the Program following notice of changes to
                                                    this Agreement will demonstrate your acceptance of any and
                                                    all such changes. If any future modifications are implemented
                                                    as a “click to accept” agreement, you may not be able to
                                                    continue using the Program unless you affirmatively
                                                                                            f           accept the
                                                    modified Agreement.

                                                    LIVE CONTENT: “Live Content" consists of content provided to
                                                    Program users (e.g., unlockable content, gear, live events,
                                                    activities, destinations, accounts, stats, virtual assets, virtual
                                                    currencies, codes, and achievements) in connection with use
                                                    of the Program. While the Program may allow you to “earn”,
                                                    "buy", or "purchase" Live Content within or in connection with
                                                    gameplay, you do not in fact own or have any property interest
                                                    in the Live Content. Unless otherwise specified in writing, any
                                                    Live Content that you receive is licensed to you as set forth
                                                    herein, and you shall have no ownership right thereto. Unless
                                                    specifically permitted by Bungie, you may not, sell, lend, rent,
                                                    trade, or otherwise transfer any Live Content. Live Content
                                                    may be altered, removed, deleted, or discontinued by Bungie
                                                    at any time (e.g., upon termination of this Agreement and/or
                                                    cessation of online support for the Program), even if you have
                                                    not “used” or “consumed” the Live Content prior to alteration,
                                                    removal, deletion, or discontinuation. Some Live Content,
                                                    including without limitation, activities, maps, and gear, may be
                                                    made available to players for only a limited time. Live Content
                                                    has no monetary value and does not constitute property of any
                                                    type.

                                                    Without limiting the above, Live Content may include virtual
                                                    coins, points or other virtual currencies (“Virtual Currency”). By
                                                    purchasing or otherwise acquiring Virtual Currency, you obtain
                                                    a limited license (which is revocable by Bungie at any time
                                                    unless otherwise required by applicable laws) to access and
                                                    select from other Live Content. Virtual Currency has no
                                                    monetary value and does not constitute currency or property of
                                                    any type. Virtual Currency may be redeemed for other Live

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                                                    compensation such as Live Content for any unused Virtual
                                                    Currency and unused Virtual Currency is non-exchangeable.

                                                    There may be Live Content (should you choose to purchase it)
                                                    which will require you to make a payment with real money, the
                                                    amount of which will be set out in the Program. Live Content
                                                    purchases are non-refundable, and you acknowledge that this
                                                    is the case and that you will have no right to change your mind
                                                    and cancel (sometimes known as a 'cooling off'  f right) once
                                                    your purchase is complete. Depending on your platform, any
                                                    Live Content purchased, may be purchased from your platform
                                                    provider and such purchase will be subject to your platform
                                                    provider’s T
                                                               Terms of Service and User Agreement. Please
                                                    check usage rights for each purchase as these may differ
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                                                    item to item. Unless otherwise shown, content available in any
                                                    game store has the same age rating as the game.

                                                    For SIEA users: When accessing the Program on a Sony
                                                    PlayStation® product, purchase and use of items are subject
                                                    to Sony’s Network TTerms of Service and User Agreement. This
                                                    online service has been sublicensed to you by Sony Interactive
                                                    Entertainment America.

                                                    For SIEE users: When accessing the Program on a Sony
                                                    PlayStation® product, any content purchased in an in-game
                                                    store will be purchased from Sony Interactive Entertainment
                                                    Network Europe Limited (“SIENE”) and be subject to
                                                    PlayStation™Network Terms
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                                                    which is available on the PlayStation®Store. Please check
                                                    usage rights for each purchase as these may differ
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                                                    to item. Unless otherwise shown, content available in any in-
                                                    game store has the same age rating as the game.

                                                    AVAILABILITY:
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                                                    For residents in North America: Bungie does not guarantee
                                                    that any online services, play or features associated with the

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                                                     Online Services or Live Content without notice to you. Bungie
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                                                     of Online Services and reserves the right to modify or
                                                     discontinue Online Services at its sole discretion without
                                                     notice, including for example, ceasing an Online Service for
                                                     economic reasons due to a limited number of users continuing
                                                     to make use of the Online Service over time.
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                                                       R      AND ANY LOSS OF LIVE CONTENT OR
                                                     OTHERWISE.

                                                     For residents outside North America: Subject to the next
                                                     sentence, Bungie does not guarantee that any Online Services
                                                     or Live Content will be available or error-free at all times or at
                                                     any given time. Bungie warrants that the Program, in addition
                                                     to any Live Content which has been paid-for with real money,
                                                     will substantially comply with the description provided by it at
                                                     the point of purchase and be of satisfactory quality (in addition
                                                     any related services provided through them will be provided
                                                     with reasonable care and skill). Bungie may change and
                                                     update Online Services or Live Content without notice to you
                                                     (provided always that any such changes do not result in
                                                     material degradation in the functionality of the Program or any
                                                     Live Content which has been paid-for with real money). Bungie
                                                     makes no warranty or representation regarding the availability
                                                     of Online Services and/or Live Content which are free (i.e., not
                                                     paid-for with real money) and each reserve the right to modify
                                                     or discontinue them at its sole discretion without notice to you,
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                                                    events outside its reasonable control. If such circumstances
                                                    result in material degradation in the functionality of the
                                                    Program or Live Content then your obligation to make any
                                                    payment to download, use or access them will be suspended
                                                    for the duration of such period. Bungie is entitled to modify or
                                                    discontinue Online Services and/or Live Content which are
                                                    paid-for with real money at its sole discretion upon reasonable
                                                    notice to you. The warranty for such Online Services and/or
                                                    Live Content is provided in accordance with your statutory
                                                    rights as a consumer which will always prevail.

                                                    For residents in North America-- CLASS ACTION WAIVER:
                                                                                                  W

                                                    READ THIS SECTION CAREFULLY LY. IT MA
                                                                                        AY SIGNIFICANTL
                                                                                                      LY
                                                    AFFECT YOUR LEGAL RIGHTS, INCLUDING YOUR RIGHT
                                                    TO FILE A LAWSUIT
                                                               A      IN COURT.

                                                    The Agreement
                                                         g        prior
                                                                  p     to August
                                                                              g      17,, 2021 included a BINDING
                                                    ARBITRATION
                                                           A      clause that,, for residents of the United States
                                                    or users of the Program
                                                                        g      in the United States,, allowed either
                                                    partyy to the Agreement
                                                    p              g          to initiate bindingg arbitration as the sole
                                                    means to resolve claims arising    g out of the Agreement,
                                                                                                     g          , subject
                                                                                                                     j
                                                    to JAMS. “Arising g out of the Agreement”
                                                                                      g           means,, specifically
                                                                                                             p        y,
                                                    claims relating
                                                                  g to the interpretation,
                                                                                p        , formation,, performance,
                                                                                                       p          , or
                                                    breach of the Agreement,
                                                                     g         , the parties’
                                                                                     p        relationship p with each
                                                    other, and/or yyour use of the Program.
                                                                                        g      The following  g provisions
                                                                                                                p
                                                    of the Agreement
                                                            g          are in efffect as of August
                                                                                               g     17,, 2021,, except
                                                                                                                      p
                                                    that additional terms related to BINDING ARBITRATION    A
                                                    remain in effect
                                                               f     until October 16,, 2021. The additional terms
                                                    include a 30-dayy opt-out
                                                                       p      right
                                                                                g relatingg to BINDING
                                                    ARBITRATION,
                                                            A     , which yyou can review in the prior
                                                                                                 p     version of
                                                    the Agreement
                                                         g         at this link.

                                                    These CLASS ACTION W    WAIVER provisions apply to you if you
                                                    are domiciled in and/or acquired and use the Program in the
                                                    United States. These provisions may also apply to you if you
                                                    are domiciled in and/or acquired and use the Program from


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                                                   out of or relating to this Agreement (including its interpretation,
                                                   formation, performance and breach), the parties' relationship
                                                   with each other and/or your use of the Program shall be finally
                                                   settled by litigation conducted in their individual capacities only
                                                   and not as a class action or other representative action, and
                                                   the parties expressly waive their right to file a class action or
                                                   seek relief on a class basis. YOU, ON THE ONE HAND, AND
                                                   BUNGIE, ON THE OTHER HAND, AGREE THAT A EACH MA AY
                                                   BRING CLAIMS AGAINST THE OTHER ONLY L IN YOUR OR
                                                   THEIR INDIVIDUAL CAPACITY
                                                                      P    Y, AND NOT AS A PLAINTIFF
                                                   OR CLASS MEMBER IN ANY PURPORTED CLASS OR
                                                   REPRESENTA
                                                           TATIVE PROCEEDING.

                                                   Exception - Litigation of Intellectual Property and Small Claims
                                                   Court Claims: Either party may bring an action in state or
                                                   federal court that only asserts claims for patent infringement or
                                                   invalidity, copyright infringement, moral rights violations,
                                                   trademark infringement, and/or trade secret misappropriation.
                                                   Either party may also seek relief in a small claims court for
                                                   disputes or claims within the scope of that court's jurisdiction.

                                                   30 Day Right to Opt Out: Y
                                                                            You have the right to opt-out and not
                                                   be bound by the class action waiver provisions set forth in the
                                                   "Class Action Waiver" paragraphs above by sending written
                                                   notice of your decision to opt-out to the following address:
                                                   Bungie, Inc., 550 106th Ave
                                                                            A NE #207, Bellevue, Washington
                                                   98004, Attn: Legal. The notice must be sent within 30 days of
                                                   purchasing the Program (or if no purchase was made, then
                                                   within 30 days of the date on which you first access or use the
                                                   Program and agree to these terms). If you opt-out of these
                                                   provisions, Bungie also will not be bound by them.

                                                   Changes to this Section: Bungie will provide 60-days’ notice of
                                                   any changes to these sections regarding “CLASS ACTION
                                                   WAIVER.” Changes will become efffective on the 60th day and
                                                   W
                                                   will apply prospectively only to any claims arising after the 60th
                                                   day.


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                                                        unenforceable for any reason, such provision shall be
                                                        reformed only to the extent necessary to make it enforceable
                                                        and the remaining provisions of this Agreement shall not be
                                                        affected.
                                                          f       To the extent permitted by applicable law: (i) this
                                                        Agreement shall be construed under Washington law as such
                                                        law is applied to agreements between Washington residents
                                                        entered into and to be performed within Washington, except as
                                                        governed by federal law, and (ii) you consent to the exclusive
                                                        jurisdiction of the state and federal courts in King County,
                                                        Washington.




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